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                                             MAGISTRATE JUDGE/DISTRICT JUDGE




UNITED STATES OF AMERICA,                )
                                         )      No.    CR05-334RSL
                     Plaintiff,          )
                                         )      ORDER AUTHORIZING
       v.                                )      FOREIGN TRAVEL
                                         )
RAJINDER JOHAL, et. al.,                 )
                                         )
                     Defendants.         )

       DEFENDANT MANINDER SINGH KHATKAR requests permission to

travel to Edmonton Alberta, Canada from Thursday June 22, 2006

until Tuesday June 27, 2006 to attend a wedding. The Court is

advised that neither PTS Officer Todd Skipworth nor Assistant

United States Attorney John Lulejian object. Accordingly the

defense motion is GRANTED.

       MANINDER SINGH KHATKAR is permitted to leave the district

and travel to Edmonton Alberta, Canada from Thursday June 22,

2006   until    Tuesday     June   27,       2006.    Upon   his      return    to    the

United      States    the   defendant         shall     contact        his     pretrial

services officer.
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 All other conditions of release remain in effect.

 Dated this 21st day of June 2006.



                              A
                              Robert S. Lasnik
                              United States District Judge
